Case 2:02-cV-02958-STA-egb Document 92 Filed 05/26/05 Page 1 of 5 Page|D 100

FH.EL'J L-;‘:` .

IN rle UNITED STATES DISTRICT CoURT FoR rle n
WESTERN DISTRICT oF TENNESSEE 05 ita f 2 z PH i - ¢6
WESTERN DIVISIoN

 

 

THOMAS P. LEWIS,
Plaintiff,

Civil No. 02-2958 (]DB)

UNITED STATES,

Claimant and Third-
Party Plaintiff,

)

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)

Defendant, Counter- )
)

)

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)

)

RONALD EDMONDS, )
)

)

Third-party Defendant.

ORDER
This matter ComeS before the Court on the United States' motion for leave to file
a reply brief to Ronald Edmonds’s opposition to the United States’ motion for summary
judgment Having considered the motion, any opposition, and the entire record of this

caSe, the Court GRANTS the motion. Accordingly, the Court ORDERS the Clerk to file

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Case 2:02-cV-02958-STA-egb Document 92 Filed 05/26/05 Page 2 of 5 Page|D 101

Exhibit A to the Government's motion for leave to file a reply brief as the United States'

reply brief.

T\ pl?'/»
So ordered this?i day of , 2005.

 

 

NIT ED STATES DISTRIBT ]UDGE

Case 2:02-cV-02958-STA-egb Document 92 Filed 05/26/05 Page 3 of 5 Page|D 102

CERTIFICATE OF SERVICE
IT IS HEREBY CERTIFIED that service of the foregoing proposed Order has been
made this lst day of April, 2005, by mailing, postage prepaid, addressed to:

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This notice confirms a copy of the document docketed as number 92 in
case 2:02-CV-02958 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

